Case 2:21-cv-01109-CJB-JVM Document 1-3 Filed 06/08/21 Page 1 of 4
      Case 2:21-cv-01109-CJB-JVM Document 1-3 Filed 06/08/21 Page 2 of 4


Brand & Product Naming

               Dong Phuong Banh Mi & Baked Goods

               DP Bakeshop East Nola

               Baked Goods Box

               Build Your Own Baked Goods Box

               Banh Mi Box

               Banh Mi Box Meal

               Build Your Own Banh Mi Box

               NOLA East Family Meal

               NOLA East Favorites

               DP Kids


Packaging & Brand Colors

               DP Yellow Cinnamon King Cake Box Design

               DP Blue Almond King Cake Box Design

               DP Off‐White Coconut King Cake Box Design

               DP Purple Cream Cheese King Cake Box Design

               DP Green Pecan King Cake Box Design

               DP Pink Strawberry King Cake Box Design

               DP Yellow Banh Mi Box Design

               DP Blue Baked Goods Box Design

               DP Pink Baked Goods Box Design

               DP Purple Mooncake Sleeve & Box Design




Brand Copy & Positioning

               All Social Copy

                                                 2
      Case 2:21-cv-01109-CJB-JVM Document 1-3 Filed 06/08/21 Page 3 of 4

               All Website Copy

               All Custom Box Copy

               EShop Menu Strategy & Copy

               Journey East Where Bread is King

               Traditionally Distinct and Deliciously Familiar

               Gather Together & Enjoy the City’s Best

               Taste Authentic Authentic Vietnamese Flavors

               Share Traditions of the Past

               Discover a Perfect Balance of Sweet and Savory

               Share the Joy of Mardi Gras

               Gather and Let the Good Times Roll

               Celebrate the Season of Carnival

               Discover a Delicious & Distinct Twist

               Taste a Twist of Sweet & Savory

               Savor the Taste of the Season

               Celebrate the Rising of the Harvest Moon

               Gather Under the Harvest Moon

               Celebrate the Joyous Traditions of King’s Day



Brand Artwork & Characters

               Dad Sunrise Illustrations

               Bread Illustrations

               Boats on Water Illustrations

               Banh Mi Illustrations

               Bike on Road Illustrations

               Baked Goods Illustrations

                                                    3
      Case 2:21-cv-01109-CJB-JVM Document 1-3 Filed 06/08/21 Page 4 of 4

               King Cake Illustrations

               King Cake Box Illustrations

               Mooncake Illustrations

               Mooncake Box Illustrations

               Banh Mi Box Illustrations

               DP Kids Illustrations

               All Mardi Gras Marketing & Promotion Campaigns

               All Banh Mi Marketing & Promotion Campaigns

               All Mooncake Marketing & Promotion Campaigns




NELLY PAULINA | STUDIO OPERATIONS DIRECTOR | nelly@thegeminisociety.com | main 512-906-0016




                                                4
